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     IT IS ORDERED as set forth below:



     Date: August 25, 2020
                                                    _________________________________

                                                             Barbara Ellis-Monro
                                                        U.S. Bankruptcy Court Judge

 ________________________________________________________________

                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF GEORGIA
                                  ATLANTA DIVISION

IN RE:                                      :        CASE NO. 18-69497-BEM
                                            :
SANDRA BROOKS,                              :        CHAPTER 7
aka Sandra Hitt Brooks                      :
aka Sandra Lynn Brooks,                     :
                                            :
         Debtor.                            :
                                            :
                                            :
S. GREGORY HAYS, as Chapter 7 Trustee,      :
                                            :
         Movant,                            :
                                            :
v.                                          :        CONTESTED MATTER
                                            :
SANDRA BROOKS,                              :
                                            :
         Respondent.                        :
                                            :
                                            :

                   ORDER APPROVING SALE OF BUSINESS INTERESTS




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         On July 7, 2020, S. Gregory Hays, as Chapter 7 Trustee (“Trustee”) for the bankruptcy

estate (the “Bankruptcy Estate”) of Sandra Brooks (“Debtor”) filed the Motion to Authorize

Sale of Business Interests [Doc. No. 30] (the “Motion”). In the Motion, Trustee requested

authority, among other things, to sell (the “Sale”) the Bankruptcy Estate’s shares (the “Shares”)

in Aqua Resources Corporation to Aqua Resources Corporation (“Purchaser”) for a purchase

price of $5,000.00 on an “as is, where is, with all faults” basis. Trustee also requested that he be

authorized to consummate the proposed sale immediately as allowed by Rule 6004(h) of the

Federal Rules of Bankruptcy Procedure.

         On July 8, 2020, Trustee filed a notice [Doc. No. 33] (the “Notice”), amongst other

things, setting the Motion for hearing on August 4, 2020 (the “Hearing”).

         Counsel for Trustee certifies that he served the Notice on all requisite parties in interest.

[Doc. No. 34].

         No creditors or parties in interest filed a response to the relief that Trustee requested in

the Motion.

         Counsel for Trustee appeared at the calendar call for the Hearing. No creditors or parties

in interest appeared.

         The Court having considered the Motion, Notice, and all matters of record in this case; no

creditors or parties in interest having opposed the relief requested in the Motion; and for good

cause shown, it is hereby

         ORDERED that the Motion is GRANTED. It is further

         ORDERED that Trustee is authorized and directed to take any and all actions necessary

or appropriate to (i) consummate the Sale of the Shares to Purchaser; and (ii) execute, perform,




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consummate, implement, and close fully the Sale together with all additional instruments and

documents that may be reasonably necessary. It is further

          ORDERED that the Sale of the Shares to Purchaser is “as is,” “where is,” “with all

faults,” and without representation or warranty, express or implied, by Trustee. It is further

          ORDERED that upon consummation of the closing of the Sale, the Shares shall be

transferred and assigned to Purchaser. It is further

          ORDERED that this Order shall be binding upon and govern the acts of all filing agents,

filing officers, title agents, title companies, recorders of mortgages, recorders of deeds, registrars

of deeds, administrative agencies or units, governmental departments or units, secretaries of

state, federal, state, and local officials, and all other persons and entities who may be required by

operation of law, the duties of their office, or contract, to accept, file, register, or otherwise

record or release any documents or instruments concerning the transactions contemplated in the

Motion. Each and every governmental employee, governmental agency or department is hereby

authorized to accept from Trustee and Purchaser any and all documents and instruments

necessary and appropriate to consummate the transactions contemplated in the Motion. It is

further

          ORDERED that the transactions contemplated by the Motion are undertaken by the

Purchaser in good faith, as that term is used in Section 363(m) of the Bankruptcy Code, and

accordingly, the reversal or modification on appeal of the authorization provided herein to

consummate the Sale of the Shares shall not affect the validity of the Sale to the Purchaser,

unless such authorization is duly stayed pending such appeal. The Purchaser is a purchaser in

good faith of the Shares, and he is entitled to all the protections afforded by Section 363(m) of

the Bankruptcy Code. It is further




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         ORDERED that, under Fed. R. Bankr. P. 6004(h), this Order shall be effective and

enforceable immediately upon entry, and its provisions shall be self-executing. In the absence of

any person or entity obtaining a stay pending appeal, Trustee and Purchaser are free to close the

Sale of the Shares at any time. It is further

         ORDERED that this Court retains exclusive jurisdiction over any action relating to,

based upon, or arising from: disputes or controversies relating to or concerning the sale of the

Shares or this Order.

                                     [END OF DOCUMENT]

Order prepared and presented by:

ARNALL GOLDEN GREGORY LLP
Attorneys for Trustee

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Identification of parties to be served:

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Peter B. Bricks, Peter Bricks, P.C., Suite 206, 333 Sandy Springs Circle, N.E., Atlanta, GA
30328

Aqua Resources Corp., 1013A Stafford St., Fort Walton Beach, FL 32547,

Edward D. McNeal, Aqua Resources Corp., 954 Shalimar Pointe Drive, Shalimar, FL 32579




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